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 1   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
 2   KRIKOR J. MESHEFEJIAN (SBN 255030)
 3   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 4   Los Angeles, California 90067
     Telephone: (310) 229-1234
 5   Facsimile: (310) 229-1244
     Email: rb@lnbyb.com; kjm@lnbyb.com
 6
     Proposed Attorneys for Chapter 11 Debtor and Debtor in Possession
 7

 8                          UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9                               SAN FERNANDO DIVISION
10
     In re:                                      Case No. 1:17-bk-12408-MB
11
     IRONCLAD PERFORMANCE WEAR                   Chapter 11
12
     CORPORATION, a California
13   corporation,
14            Debtor and Debtor in Possession.    DEBTOR’S EX PARTE MOTION FOR
                                                  ENTRY OF AN ORDER FOR JOINT
15                                                ADMINISTRATION     OF    CASES;
                                                  DECLARATION     OF   L.   GEOFF
16
                                                  GREULICH IN SUPPORT THEREOF
17
                                                  [No Hearing or Notice Required Pursuant To
18                                                Local Bankruptcy Rule 1015-1]

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 1          Pursuant to Local Bankruptcy Rule 1015-1(b), Ironclad Performance Corporation, a

 2   California corporation (“Ironclad California”), the debtor and debtor in possession in the above-

 3   referenced Chapter 11 bankruptcy case, hereby moves, on an ex parte basis, for the entry of an

 4   order for joint administration of this case with the Chapter 11 bankruptcy case of Ironclad

 5   Performance Corporation, a Nevada corporation (“Ironclad Nevada” and collectively with

 6   Ironclad California, the “Debtors”) (Case No. 1:17-bk-12409-MB).

 7                                  I.     STATEMENT OF FACTS

 8   A.      Brief Description Of The Debtors And Their Businesses.

 9           1.    On September 7, 2017 (“Petition Date”), Ironclad California and its parent

10   corporation Ironclad Nevada, each filed a Voluntary Petition for relief under Chapter 11 of the

11   Bankruptcy Code. Since the Petition Date, Ironclad California and Ironclad Nevada (collectively,

12   the “Debtors” or “Ironclad”) have operated their businesses and managed their affairs as debtors

13   in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. Other than owning all

14   of the shares in Ironclad California, Ironclad Nevada has no business. All operations of the

15   Debtors effectively function through Ironclad California. The management of the Debtors is

16   identical.

17           2.    The Debtors are a leading, technology-focused developer and manufacturer of

18   high-performance task-specific gloves and apparel for the “industrial athlete” in a variety of end

19   markets, including construction, manufacturing, oil and gas (“O&G”), automotive, the sporting

20   goods, military, police, fire, and first-responder. The Debtors’ business is based out of Farmers

21   Branch, Texas. Ironclad Nevada is publicly-traded with its common stock quoted on the OTC

22   Markets under the symbol “ICPW”. As of April 7, 2017, Ironclad Nevada had 85,646,354 shares

23   of common stock, par value $0.001 per share, issued and outstanding. As of August 30, 2017, the

24   Debtors had approximately 41 full time employees, with 9 of these employees who work

25   overseas.

26           3.    Ironclad was founded in 1998 by Ed Jaeger. Mr. Jaeger was inspired to build

27   gloves that offered protection and performance without sacrificing one for the other. From the

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 1   beginning, Ironclad built gloves using materials that offered excellent fit to make them an

 2   extension of the hand and to make jobs easier for the “industrial athlete”. By 2006, Ironclad

 3   offered 35 different task-specific glove types for people wearing gloves as part of their daily jobs.

 4            4.    In 2008, the Debtors launched the KONG (King of Oil ‘N’ Gas) line to address the

 5   high number of hand injuries in the O&G field. By 2010, the KONG line was comprised of 46

 6   different gloves. Additionally, Ironclad expanded its presence in the retail and non-professional

 7   markets with the launch of the EXO brand in June 2015. EXO offers lower cost gloves for

 8   automotive, DIY, and outdoor sporting applications. Ironclad offers 30 different EXO glove

 9   types.

10            5.    Ironclad’s task-specific technical glove products are specially designed for
11   individual user groups. Ironclad currently offers over 160 distinct types of gloves for a variety of
12   markets, including industrial, construction, DIY, carpentry, machining, package handling,
13   plumbing, welding, roofing, O&G, mechanics, hunting, and gardening. Products come in a
14   multitude of colors and cater to the specific demands and requirements of the users based on ease
15   of motion, grip, water and chemical resistance, visibility, and protection from abrasions, cuts,
16   flames, impacts, temperature, and vibration. Since inception, Ironclad has employed an internal
17   research and development (“R&D”) department responsible for identifying and creating new
18   products and applications, and improving and enhancing existing products.                Ironclad is

19   continually evaluating new base materials for gloves, and grip is another key area of focus for

20   R&D. Ironclad often partners with industry-leading organizations to develop new products. The

21   Company has 13 U.S. patents issued and 11 foreign patents, as well as five pending U.S. patent

22   applications and several pending foreign patent applications. Ironclad also uses trademarks to

23   strengthen and protect its recognizable brand names.           Ironclad owns 52 registered U.S.

24   trademarks, 39 registered international trademarks, and 13 and 43 trademarks pending in the U.S.

25   and internationally, respectively.

26            6.    Ironclad currently sells through approximately 10,000 outlets for professional

27   tradesmen as well as “Big Box”, hardware, auto parts, and sporting goods retailers. The sales

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 1   force is organized by 3 business segments: Industrial, Retail, and International. Glove products

 2   are currently manufactured by multiple suppliers operating in China, Bangladesh, Cambodia,

 3   Vietnam and Indonesia.

 4   B.     Events Leading To Bankruptcy And The Debtors’ Chapter 11 Goals.

 5          7.      Despite the development and success of the Debtors’ products over the years, the

 6   Debtors’ revenue and cash flow from operations have been insufficient to support their current

 7   business operations as well as their continued growth. There have been many reasons for this

 8   including heavy competition, loss of a major international distributor, incomplete and/or

 9   ineffective expansion and distribution of all of their product lines and development of new

10   customers, and higher than anticipated production, manufacturing and warehousing costs. In

11   addition, it was discovered in early 2017 that under prior management, the Debtors had failed to

12   provide materially complete and correct financial statements as required under their loan

13   documents to their primary secured lender for the fiscal years ended December 31, 2015 and

14   2016, and for the fiscal quarters ended March 31, June 30, September 30, 2016 and March 31,

15   2017. As a result of this discovery, the Debtors’ then chief executive officer and other officers

16   were terminated, and L. Geoff Greulich assumed the position of the Debtors’ new chief executive

17   officer effective July 6, 2017.    Prior to assuming this position, Mr. Greulich had no prior

18   connections or relationship with the Debtors as an insider, equity holder or otherwise. As a

19   Senior Advisor, Operations at Corridor Capital, LLC, where he leads operations through portfolio

20   engagement as well as conducting due diligence, Mr. Greulich was highly qualified to serve as the

21   Debtors’ new chief executive officer. Persons or parties interested in obtaining specific historical

22   financial history of the Debtors should review the public filings made by the Debtors with the

23   Securities and Exchange Commission.

24          8.      The Debtors filed their bankruptcy cases to consummate a sale of substantially all

25   of their assets (excluding cash and causes of action) for the most money possible. Just prior to

26   their bankruptcy filings, the Debtors entered into an asset purchase agreement (“APA”) with the

27   Debtors’ current secured creditor, Radians Wareham Holdings, Inc. (“Radians”) or its

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 1   affiliate/designee, for a cash purchase price of $20 million or $15 million, subject to an overbid

 2   process. Radians will be paying a cash purchase price of either $15 million or $20 million

 3   depending upon the occurrence of an event which is sensitive and is the subject of a motion the

 4   Debtors are filing under seal, which the Debtors hope will be granted by the Court. It should be

 5   noted that the Debtors believe the total debt in these cases (both secured and unsecured combined)

 6   is or will be in the range of approximately $8-$10 million, which means that all creditors are

 7   expected to be paid in full with there being a substantial distribution to the shareholders of the

 8   parent company, which is a publicly traded company.

 9                                       II.     BASIS FOR RELEIF

10           Pursuant to Local Bankruptcy Rule 1015-1(b), “[i]f two or more cases are pending before

11   the same judge, an order of joint administration may be entered, without notice and an

12   opportunity for hearing, upon the filing of a motion for joint administration pursuant to FRBP

13   1015, supported by a declaration establishing that the joint administration of the cases is

14   warranted, will ease the administrative burden for the Court and the parties, and will protect

15   creditors of the different estates against potential conflicts of interest.”

16           Here, it is clear that joint administration of the cases is warranted. Joint administration

17   will avoid the exponential expenses related with requesting Court approval of identical motions

18   involving both Debtors in two separate cases.            The Debtors share common management,

19   including the same Chief Executive Officer and Chief Financial Officer. The Debtors are parties

20   to the same proposed debtor-in-possession financing and cash collateral agreements. One Debtor

21   (Ironclad California) is wholly owned by the other Debtor (Ironclad Nevada).                    Joint

22   administration of these cases will ease the administrative burden for the Court and the parties, and

23   will protect creditors of the different estates against potential conflicts of interest. For example,

24   the Debtors will file a motion for Court approval of: (1) the use of cash collateral; (2) debtor-in-

25   possession financing pursuant to section 364 of the Bankruptcy Code; and (3) approval of bid

26   procedures.    The terms of the use of cash collateral, the terms of the proposed debtor-in-

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 1   possession financing, and the proposed bidding procedures, will be identical for both of the

 2   Debtors.

 3            Joint administration of the estates will mean that the Debtors will only be required to file a

 4   single motion for each of these requests, and will be able to conduct a jointly-administered

 5   reorganization. Rather than reviewing separate identical pleadings filed in two separate cases, the

 6   Court, the United States Trustee, and creditors, will only need to review single motions. Creditors

 7   of the estates will be aware of the cash collateral and financing requests and the relationships

 8   between the Debtors, their cases, their assets, and their liabilities.        Annexed hereto is the

 9   Declaration of L. Geoff Greulich in support of this Motion.

10            In the event the Court orders the joint administration of the cases, the Debtors respectfully
11   suggest that the following caption be approved and that Ironclad California’s case be used as the
12   lead case, as that is the primary operating entity, as described in the annexed Declaration.
13
     In re:                                                 Lead Case No.: 1:17-bk-12408-MB
14

15   IRONCLAD PERFORMANCE WEAR                              Jointly administered with:
     CORPORATION, a California corporation,                 1:17-bk-12409-MB
16                                                          (Ironclad Performance Wear Corporation, a
             Debtor and Debtor in Possession.               Nevada corporation)
17   ____________________________________
     In re:                                                 Chapter 11 Cases
18

19   IRONCLAD PERFORMANCE WEAR
     CORPORATION, a Nevada corporation,
20                                                          Date:
              Debtor and Debtor in Possession.              Time:
21   ____________________________________                   Place: Courtroom 303
                                                                   21041 Burbank Blvd.
22
        Affects both Debtors                                       Woodland Hills, CA 91367
23
       Affects Ironclad Performance Wear
24   Corporation, a California corporation only
25     Affects Ironclad Performance Wear
     Corporation, a Nevada corporation only
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 1          Accordingly, the Debtors respectfully request that this Court enter an order (lodged

 2   concurrently herewith):

 3          (a)    authorizing the joint administration of the cases;

 4          (b)    approving the form of caption suggested by the Debtors herein; and

 5          (c)    granting such other and further relief as the Court deems just and proper.

 6

 7   Dated: September 11, 2017                    IRONCLAD PERFORMANCE WEAR
                                                  CORPORATION
 8

 9                                                By:    /s/ Krikor J. Meshefejian
                                                         RON BENDER
10
                                                         MONICA Y. KIM
11                                                       KRIKOR J. MESHEFEJIAN
                                                         LEVENE, NEALE, BENDER, YOO
12                                                       & BRILL L.L.P.
                                                         Proposed Counsel for Chapter 11 Debtor and
13                                                       Debtor in Possession
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 1                            DECLARATION OF L. GEOFF GREULICH

 2          I, L. Geoff Greulich, hereby declare as follows:

 3          1.      I have personal knowledge of the facts set forth below and, if called to testify,

 4   would and could competently testify thereto. This Declaration is based upon my review of

 5   pertinent portions of the Debtors’ books and records, and the information I have obtained in my

 6   position as CEO of the Debtors.

 7          2.      I joined Ironclad Performance Wear Corporation, a California corporation

 8   (“Ironclad California”) and Ironclad Performance Wear Corporation, a Nevada corporation

 9   (“Ironclad Nevada”, and collectively with Ironclad California, the “Debtors”) as Chief Executive

10   Officer effective July 6, 2017.

11   A.     Brief Description Of The Debtors And Their Businesses.

12          3.      On September 7, 2017 (“Petition Date”), Ironclad Performance Wear Corporation,

13   a California corporation (“Ironclad California”) and its parent corporation Ironclad Performance

14   Wear Corporation, a Nevada corporation (“Ironclad Nevada”), each filed a Voluntary Petition for

15   relief under Chapter 11 of the Bankruptcy Code. Since the Petition Date, Ironclad California and

16   Ironclad Nevada (collectively, the “Debtors” or “Ironclad”) have operated their businesses and

17   managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the

18   Bankruptcy Code.

19          4.      Other than owning all of the shares in Ironclad California, Ironclad Nevada has no

20   business. All operations of the Debtors effectively function through Ironclad California.

21          5.      The Debtors are a leading, technology-focused developer and manufacturer of

22   high-performance task-specific gloves and apparel for the “industrial athlete” in a variety of end

23   markets, including construction, manufacturing, oil and gas (“O&G”), automotive, the sporting

24   goods, military, police, fire, and first-responder. The Debtors’ business is based out of Farmers

25   Branch, Texas. Ironclad Nevada is publicly-traded with its common stock quoted on the OTC

26   Markets under the symbol “ICPW”. As of April 7, 2017, Ironclad Nevada had 85,646,354 shares

27   of common stock, par value $0.001 per share, issued and outstanding. As of August 30, 2017, the

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 1   Debtors had approximately 41 full time employees, with 9 of these employees who work

 2   overseas.

 3            6.    Ironclad was founded in 1998 by Ed Jaeger. Mr. Jaeger was inspired to build

 4   gloves that offered protection and performance without sacrificing one for the other. From the

 5   beginning, Ironclad built gloves using materials that offered excellent fit to make them an

 6   extension of the hand and to make jobs easier for the “industrial athlete”. By 2006, Ironclad

 7   offered 35 different task-specific glove types for people wearing gloves as part of their daily jobs.

 8            7.    In 2008, the Debtors launched the KONG (King of Oil ‘N’ Gas) line to address the

 9   high number of hand injuries in the O&G field. By 2010, the KONG line was comprised of 46

10   different gloves. Additionally, Ironclad expanded its presence in the retail and non-professional
11   markets with the launch of the EXO brand in June 2015. EXO offers lower cost gloves for
12   automotive, DIY, and outdoor sporting applications. Ironclad offers 30 different EXO glove
13   types.
14            8.    Ironclad’s task-specific technical glove products are specially designed for
15   individual user groups. Ironclad currently offers over 160 distinct types of gloves for a variety of
16   markets, including industrial, construction, DIY, carpentry, machining, package handling,
17   plumbing, welding, roofing, O&G, mechanics, hunting, and gardening. Products come in a
18   multitude of colors and cater to the specific demands and requirements of the users based on ease
19   of motion, grip, water and chemical resistance, visibility, and protection from abrasions, cuts,

20   flames, impacts, temperature, and vibration. Since inception, Ironclad has employed an internal

21   research and development (“R&D”) department responsible for identifying and creating new
22   products and applications, and improving and enhancing existing products.                Ironclad is

23   continually evaluating new base materials for gloves, and grip is another key area of focus for

24   R&D. Ironclad often partners with industry-leading organizations to develop new products. The

25   Company has 13 U.S. patents issued and 11 foreign patents, as well as five pending U.S. patent

26   applications and several pending foreign patent applications. Ironclad also uses trademarks to

27   strengthen and protect its recognizable brand names.           Ironclad owns 52 registered U.S.

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 1   trademarks, 39 registered international trademarks, and 13 and 43 trademarks pending in the U.S.

 2   and internationally, respectively.

 3          9.      Ironclad currently sells through approximately 10,000 outlets for professional

 4   tradesmen as well as “Big Box”, hardware, auto parts, and sporting goods retailers. The sales

 5   force is organized by 3 business segments: Industrial, Retail, and International. Glove products

 6   are currently manufactured by multiple suppliers operating in China, Bangladesh, Cambodia,

 7   Vietnam and Indonesia.

 8   B.     Events Leading To Bankruptcy And The Debtors’ Chapter 11 Goals.

 9          10.     Despite the development and success of the Debtors’ products over the years, the

10   Debtors’ revenue and cash flow from operations have been insufficient to support their current

11   business operations as well as their continued growth. There have been many reasons for this

12   including heavy competition, loss of a major international distributor, incomplete and/or

13   ineffective expansion and distribution of all of their product lines and development of new

14   customers, and higher than anticipated production, manufacturing and warehousing costs. In

15   addition, it was discovered in early 2017 that under prior management, the Debtors had failed to

16   provide materially complete and correct financial statements as required under their loan

17   documents to their primary secured lender for the fiscal years ended December 31, 2015 and

18   2016, and for the fiscal quarters ended March 31, June 30, September 30, 2016 and March 31,

19   2017. As a result of this discovery, the Debtors’ then chief executive officer and other officers

20   were terminated, and I assumed the position of the Debtors’ new chief executive officer effective

21   July 6, 2017. Prior to assuming this position, I had no prior connections or relationship with the

22   Debtors as an insider, equity holder or otherwise. Persons or parties interested in obtaining

23   specific historical financial history of the Debtors should review the public filings made by the

24   Debtors with the Securities and Exchange Commission.

25          11.     The Debtors filed their bankruptcy cases to consummate a sale of substantially all

26   of their assets (excluding cash and causes of action) for the most money possible. Just prior to

27   their bankruptcy filings, the Debtors entered into an asset purchase agreement (“APA”) with the

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 1   Debtors’ current secured creditor, Radians Wareham Holdings, Inc. (“Radians”) or its

 2   affiliate/designee, for a cash purchase price of $20 million or $15 million, subject to an overbid

 3   process. Radians will be paying a cash purchase price of either $15 million or $20 million

 4   depending upon the occurrence of an event which is sensitive and is the subject of a motion the

 5   Debtors are filing under seal, which the Debtors hope will be granted by the Court. It should be

 6   noted that the Debtors believe the total debt in these cases (both secured and unsecured combined)

 7   is or will be in the range of approximately $8-$10 million, which means that all creditors are

 8   expected to be paid in full with there being a substantial distribution to the shareholders of the

 9   parent company, which is a publicly traded company.

10   C.     Basis For Joint Administration.

11          12.     Joint administration will avoid the exponential expenses related with requesting

12   Court approval of identical motions involving both Debtors in two separate cases. The Debtors

13   share common management. The Debtors are parties to the same proposed debtor-in-possession

14   financing and cash collateral agreements. One Debtor (Ironclad California) is wholly owned by

15   the other Debtor (Ironclad Nevada).           Joint administration of these cases will ease the

16   administrative burden for the Court and the parties, and will protect creditors of the different

17   estates against potential conflicts of interest. For example, the Debtors will file a motion for

18   Court approval of: (1) the use of cash collateral; (2) debtor-in-possession financing pursuant to

19   section 364 of the Bankruptcy Code; and (3) approval of bid procedures. The terms of the use of

20   cash collateral, the terms of the proposed debtor-in-possession financing, and the proposed

21   bidding procedures, will be identical for both of the Debtors.

22          13.     I understand that joint administration of the estates will mean that the Debtors will

23   only be required to file a single motion for each of these requests, and will be able to conduct a

24   jointly-administered reorganization. Rather than reviewing separate identical pleadings filed in

25   two separate cases, the Court, the United States Trustee, and creditors, will only need to review

26   single motions. Creditors of the estates will be aware of the cash collateral and financing requests

27   and the relationships between the Debtors, their cases, their assets, and their liabilities.

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                                             Los Angeles
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 1
                                   PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled DEBTOR’S EX PARTE MOTION FOR
 4   ENTRY OF AN ORDER FOR JOINT ADMINISTRATION OF CASES; DECLARATION OF L. GEOFF
     GREULICH IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
 5   form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On September 11, 2017, I checked the CM/ECF docket for this bankruptcy
     case or adversary proceeding and determined that the following persons are on the Electronic Mail
 8   Notice List to receive NEF transmission at the email addresses stated below:

 9            Ron Bender rb@lnbyb.com
              S Margaux Ross margaux.ross@usdoj.gov
10            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
              Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
11
     2. SERVED BY UNITED STATES MAIL: On September 11, 2017, I served the following persons
12   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
     true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
13   and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
14
                                                                             Service information continued on attached page
15
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
16   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
     on September 11, 2017, I served the following persons and/or entities by personal delivery, overnight
17   mail service, or (for those who consented in writing to such service method), by facsimile transmission
     and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
18   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

19   Served via Attorney Service
     Hon. Martin R. Barash
20   United States Bankruptcy Court
     21041 Burbank Boulevard, Suite 342
21   Woodland Hills, CA 91367

22                                                                            Service List served by Overnight Mail attached

23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
24
      September 11, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
25    Date                                  Type Name                                   Signature

26
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Served by Overnight Mail:

  Ironclad Performance Wear (8300)     United States Trustee                  U. S. Securities and Exchange
  OUST, Secured & Top 20               915 Wilshire Blvd., Suite 1850         Commission
                                       Los Angeles, California 90017          Attn: Bankruptcy Counsel
                                                                              444 South Flower Street, Suite 900
                                                                              Los Angeles, CA 90071-9591

  Secured Creditor                     Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
  Radians Wareham Holding, Inc.        E. Franklin Childress, Jr.             Sharon Z. Weiss
  Attn: Mike Tutor, CEO                Baker, Donelson, Bearman, Caldwell &   Bryan Cave
  5305 Distriplex Farms                Berkowitz, PC                          120 Broadway, Suite 300
  Memphis, TN 38141                    165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                       Memphis, Tennessee 38103



  Top 20 Unsecured Creditors:



  Advantage Media Services, Inc.       Danny Negara                           Eliza Yang
  Attn: Steven Helmle                  Mercindo Global Manufaktur             Nantong Changbang Gloves Co.
  29010 Commerce Center Drive          Jl. Raya Semarang-Bawen Km.29          Flat/RM 1602 Chit Lee Comm
  Valencia, CA 91355                   SEemerang, Central Java                Bldg 30-36, Shau Kei Wan Road
                                       50661, Indonesia                       Hong Kong, China

  Gerard                               Kwong                                  Mark Robba
  BDO USA, LLP                         PT JJ GLOVES INDO                      PT SPORT GLOVE INDONESIA
  P. O. BOX 677973                     JL Ronggowarsito, Mlese, Ceper         Krandon Desa Pandowoharjo
  Dallas, TX 75267-7973                Bonded Zone, Klaten                    Sleman
                                       Central Java, Indonesia, 57463         Yogyakarta, Indonesia, 55512

  Daniel Gomes                         Brent Waters                           Skadden Arps Slate Meagher & Flom
  Capital One Bank                     Resources Global Professionals         LLP
  P. O. BOX 1917                       P.O. Box 740909                        P O Box 1764
  Merrifield, VA 22116-1917            Los Angeles, CA 90074-0909             White Plains, NY 10602


  Carol Pearson                        Risk Consulting Partners               Robert Tejeda
  FedEx                                24722 Network Place                    Stubbs, Alderton & Markiles, LLP
  PO Box 7221                          Chicago, IL 60673-1247                 15260 Ventura Blvd
  Pasadena, CA 91109-7321                                                     20th Floor
                                                                              Sherman Oaks, CA 91403

  Ms. Vicz Yue                         Shur-Sales & Marketing, Inc.           John Calhoun
  Ka Hung Glove Inustrial Co. Ltd.     3830 S Windermere St.                  Synetra
  Fujian Quanzhou Jiacheng Leather     Englewood, CO 80110                    1110 E. State Highway 114
  Chi Feng Road, Quanzhou City                                                Suite 200
  Fujian, 362000, China                                                       Southlake, TX 76092


  Sky Lin                              Carla Durand                           Bradley J. S. Weiss
  Marusan - Mimasu Tshusho Co. Ltd.    University of Milwaukee                Winspeed Sports Shanghai Co., Ltd.
  No 1 Queen' Road Central             P O Box 500                            858 Mingzhu Road
  Hong Kong                            University of Wisconsin - Milwaukee    Shanghai
  China                                Milwaukee, WI 53201                    China, 00020-1702

  Janice Lee                           Liliana Dominguez                      1920 Hutton Court
  Woneel Midas Leathers                Yellow and Roadway                     Attn: Johnny Clark
  Jl Gembor Raya Desa Pasirjaya        P. O. Box 100129                       Inwood National Bank
  Tangerang                            Pasadena, CA 91355                     P O Box 857413
  Banten, Indonesia, 15135                                                    Richardson, TX 75085
